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                                                                                           March 24, 2017
   VIA ECF

   Honorable Lorna G. Schofield
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

                Re:           Wells Fargo Bank, N.A. et al. v. 390 Park Avenue Associates, LLC et al.,
                              Case No. 1:16-cv-09112-LGS (the "Action")

   Dear Judge Schofield:

           On behalf of my clients 390 Park Avenue Associates, LLC ("390 Park"), Aby J. Rosen,
   and Michael Fuchs (together, the "RFR Defendants"), I write to inform the Court that the RFR
   Defendants will not be pursuing a motion to disqualify Venable, LLP ("Venable") as counsel for
   plaintiff in this Action.

          After further discussion with counsel for plaintiff and the establishment of an ethical wall
   at Venable insulating this Action from attorneys who work or may have worked for the RFR
   Defendants or their affiliates on other matters, the RFR Defendants have consented to Venable's
   representation of plaintiff in this Action and consequently will not be filing any motion to
   disqualify Venable.


                                                                                             Respectfully Submitted,




   cc:          Counsel of Record (by ECF)




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